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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


786 CHALLENGER ST. LLC,                          )
                                                 )
                      Plaintiff,                 )
       v.                                        )
                                                 )   C.A. No. 20-919-SB
BOMBARDIER AEROSPACE                             )
CORPORATION,                                     )
                                                 )
                      Defendant.                 )
                                                 )




                    ORDER SCHEDULING ADR TELECONFERENCE

       At Wilmington this 20th day of September, 2021,

       IT IS ORDERED that a teleconference has been scheduled for September 22, 2021 at 4:00

p.m. with Magistrate Judge Hall to discuss the types of alternative dispute resolution (“ADR”)

options available in this case, including mediation, and the scheduling of and procedures involved

in the ADR process. Plaintiff’s counsel shall initiate the teleconference to (302) 252-2576.

       IT IS FURTHER ORDERED that counsel and the parties are required to review the

attached “Teleconference Preparation Requirements” and that counsel should be prepared to

discuss that document during the teleconference.

       Local counsel are reminded of their obligations to inform out-of-state counsel of this Order.

To avoid the imposition of sanctions, counsel shall advise the Court immediately of any problems

regarding compliance with this Order.

                                             _____________________________________
                                             UNITED STATES MAGISTRATE JUDGE
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                 TELECONFERENCE PREPARATION REQUIREMENTS

       The Court will address the following topics during the teleconference, as applicable.

Counsel are required to be prepared to discuss these areas and shall advise the Court of other issues

that may affect ADR.

       1.      The parties’ interest in ADR and the type of ADR (e.g., mediation; arbitration,

binding or non-binding, with or without high/low; neutral evaluation; summary or mini bench or

jury proceeding).

       2.      The timing of any ADR process.

       3.      The availability of counsel, the parties and/or their decision makers.

       4.      The length of time needed for the scheduled ADR process (e.g., more than one day).

       5.      The identities of any non-parties who have an interest or influence on the outcome

of the litigation, and whether they were notified by counsel or the parties of the teleconference.

For example, such non-parties would include health care or workers’ compensation lienholders,

excess carriers, or unsecured creditors in bankruptcy adversary proceedings. If any non-party’s

interest would likely prevent a resolution if not a participant in the selected ADR process, or if

counsel or a party feels that inclusion of a non-party may be necessary for an effective ADR

process to occur, then counsel or the party shall advise the non-party or its representative of the

date and time of the teleconference and their required participation.

       6.      Any ancillary litigation pending/planned which could affect the ADR process in

this case, including companion cases filed in this Court or other courts, and arbitration proceedings.

       7.      Previous efforts, if any, by the parties or their counsel to resolve this matter.

       8.      The identification of any outstanding liens, the amounts verified, and whether the

liens are negotiable or limited by governmental regulations or statutes (federal, state or local).



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       9.     The identification of other information required to appropriately and reasonably

value this matter prior to the ADR process selected. If the information will not be available or

completed by the time of the teleconference, counsel shall have an understanding of the type of

information, reports, data and/or discovery that should be made available or be completed before

ADR occurs.

       10.    The Court’s Form Order Governing Mediation Conferences and Mediation

Statements, a copy of which is posted under the “Forms” tab on Magistrate Judge Hall’s section

of the Court’s website, and any modifications proposed by counsel.




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